 Case 3:19-cv-00116-DJH Document 28 Filed 04/24/19 Page 1 of 5 PageID #: 315




                                     UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF KENTUCKY
                                       LOUISVILLE DIVISION

KEMARI AVERETT                                )
                                              )
               Plaintiff,                     )
                                              )
v.                                            )        Case No. 3:19-CV-00116-DJH
                                              )
UNIVERSITY OF LOUISVILLE, et. al.             )                JUDGE DAVID J. HALE
                                              )
               Defendants                     )

                           PLAINTIFF’S ANSWER TO DEFENDANT
                                 COLEMAN’S COUNTER-CLAIM
                   ________________________________________________________________

        Comes Plaintiff, by counsel, and states as his Answer to Defendant Destinee

Coleman’s Counter-Claim as follows:

     1. The Complaint fails to state a claim upon which relief may be granted.

     2. Plaintiff admits the allegations contained in numerical paragraphs 1-4

         of the Counter-Claim.

     3. Plaintiff is without sufficient knowledge and information to form a belief as to the

        truth or falsity of the allegation contained in numerical paragraph 5 of the Counter-

        Claim and therefore denies same. Further, said allegation calls for a legal

        conclusion, ignores epistemological inferences surrounding the word, and the

        context in which the word can be used. Therefore, Plaintiff denies same.

     4. Plaintiff denies the allegations contained in numerical paragraphs 6 and 7 of the

        Counter-Claim, and states as an affirmative defense that Coleman invited herself to

        apartment for the express purpose of having sex, and crawled into his bed, knowing

        that he was un-clad, and engaged in consensual sex. Before having sex, she asked
Case 3:19-cv-00116-DJH Document 28 Filed 04/24/19 Page 2 of 5 PageID #: 316




    him if he had “that girl” pregnant and he said “No.” After having sex, she asked him

    if he had that “white girl” pregnant. When he said “yes,” she got angry and began to

    act weird and stormed out of the apartment.

 5. Plaintiff denies so much of the allegations contained in numerical paragraphs 8 - 14

    of the Counter-Claim insofar as they assert or imply that Coleman was raped and

    assaulted. Further, Plaintiff is without sufficient knowledge and information to form

    an informed belief regarding PEACC and the Center for Women and the role they

    played in Coleman’s charade. Therefore, Plaintiff denies the allegations, and more

    specifically paragraph 14 claiming the SAFE exam demonstrated forcible

    penetration and rape.

 6. Plaintiff is without sufficient knowledge and information to form a belief as to the

    truth or falsity of the allegations contained in numerical paragraphs 15-16, and

    therefore denies same. Further, Plaintiff states as an affirmative defense that the

    University intentionally and negligently failed to conduct an objective investigation

    and made no effort to investigate the truth of Plaintiff’s explanation that the sexual

    encounter was fabricated.

 7. Plaintiff admits the allegations contained in numerical paragraphs 18, 19, and states

    as an affirmative defense that his response to the newspaper was based on

    Coleman’s and Hardy’s claim as to when the sexual encounter occurred.

 8. Plaintiff denies the allegations contained in numerical paragraph 20 that she was

    raped, but admits that she schemed and manipulated others to support her

    slanderous claim that she was raped.
Case 3:19-cv-00116-DJH Document 28 Filed 04/24/19 Page 3 of 5 PageID #: 317




 9. Plaintiff denies the allegation in paragraph 21 that he testified untruthfully, and

    numerical paragraph 31implying that he raped Coleman and impugned her

    character, and states as an affirmative defense that Coleman’s character and

    reputation are well-known on the University campus and the football team.

 10. Plaintiff admits the allegations contained in numerical paragraphs 22, 23, and so

    much of 24 that he defended himself against Coleman’s slanderous claim.

 11. Plaintiff admits the allegations contained in numerical paragraphs 25, 26, 27, 28,

    29, 30 and 32 of the Counter-Claim.

 12. Plaintiff admits the allegations contained in numerical paragraphs 33-36 and

    admits as an affirmative defense that Coleman repeated her claim and took

    calculated steps to support her false claim that she was raped all because she was

    angered that Plaintiff had gotten his white girlfriend pregnant and had broken off

    relations with Coleman.

 13. Plaintiff denies the allegations contained in numerical paragraph 37.

 14. Plaintiff admits the allegation contained in numerical paragraphs 38 – 41 and states

    further as an affirmative defense that Detective Brown, in conjunction with the

    prosecutor’s very strenuous efforts, vigorously tried to persuade the grand jury to

    indict Averett. Further, Coleman did not ask to appear before the grand jury.

    Further, neither the prosecutor nor Brown asked or subpoenaed her to appear,

    apparently thinking it was totally unnecessary.

 15. Plaintiff denies the allegations contained in numerical paragraphs 42-48 and states

    as an affirmative defense that Coleman’s claims and actions are fabrications
Case 3:19-cv-00116-DJH Document 28 Filed 04/24/19 Page 4 of 5 PageID #: 318




    designed to conceal her true motives, including the destruction of evidence and her

    racist attitude and objection to Black men dating white women.

 16. Plaintiff denies the allegations contained in numerical paragraphs 49- 54 regarding

    her claim of battery, 55-59 regarding her claim of assault, 60-67 regarding her claim

    of intentional infliction of emotional distress, 68-73, her claim of abuse of process,

    and 74-81 regarding her claim of invasion of privacy

 17. Further, the allegations contained in numerical paragraphs 50, 56, 61, 75, and 76,

    call for legal conclusions, thus do not require a response.

 18. As a further affirmative defense, Plaintiff adopts and incorporates by reference as if

    fully set forth herein all the allegations contained in his Second Amended Complaint.

    WHEREFORE, Plaintiff respectfully demands as follows:

           1. That the Counter-Claim be dismissed for failure to state a claim upon

               which relief may be granted;

           2. Trial by jury on all issues so properly triable;

           3. His costs herein expended, including reasonable attorney’s fees;

           4. Any and all further relief to which he may appear to be so properly

               entitled.

                                                       Respectfully Submitted,


                                                       / s / Aubrey Williams
                                                       AUBREY WILLIAMS, Ph.D.
                                                       One Riverfront Plaza
                                                       Suite 1708
                                                       Louisville, KY 4-202
                                                       (5020 581-1088
                                                       FAX: 581-0595
                                                       E: aubreyw8243@bellsouth.net
                                                       Counsel for Plaintiff
 Case 3:19-cv-00116-DJH Document 28 Filed 04/24/19 Page 5 of 5 PageID #: 319




                                CERTIFICATE OF SERVICE

       It is hereby certified that on April 24, 2019, the foregoing Answer to Defendant

Destinee Coleman’s Counter-Claim was filed with the Clerk of this Court via the Court’s

CM/ECF electronic filing system, which will sent notice of filing on even date to the

individuals listed below:

Hon. Jeremiah
Frost Brown Todd, PLLC
400 West Market Street, 32nd Floor
Louisville, KY 40202
Counsel for Destinee Coleman

Hon. Donna King Perry, and
Hon. Matthew Barszcz
Dinsmore & Shohl, LLP
101 Fifth Street, Suite 2500
Louisville, KY 40202
E: Donna.Perry@dinsmore.com
E: Matthew.Barsca@dinsmore.com
Counsel for Defendants Shirley Ann Hardy, Angela B. Taylor,
PhD., Michael Mardis, PhD., University of Louisville, Board of
Trustees, and Detective William Brown


                                                          / s / Aubrey Williams
